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. THE PRESTON LAW FIRM, L.L.C_
PAUL (J. PRESTON

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IN LAKE CHARLES, LA.
December 22, 2014 DEC 22 20111

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Vz`a Facsimile: (337) 437-3969 °E"u"
Honorable Patricia Minaldi
United States District Judge
611 Broad Street, Suite 328
Lake Charles, Louisiana 70601

Re: Benfv Hunter v. Cornerstone Hospl`tal ofSouthwest Louisz`ana, LLC,
WDLA Civil Action No. 2 : 14-cv-02286-PM-KK

Dear Judge Minaldi:

On behalf of all parties and their counsel in this matter, I am advising the court that the
referenced matter has settled and ask that you enter a 60-Day Order of Dismissal.

With kind regards, I remain
Sincerely

@M,>Y;%M

Linda M. Uzee
Counsel for Defendant, Cornerstone Hospital
of Southwest Louisiana, LLC

cc: Mr. Lee Schwalben (via email)

